                                  NOTICE OF HEARING




                 UNITED STATES DISTRICT COURT
                                      FOR THE
                                DISTRICT OF VERMONT



United States of America

       v.                                        Case No. 5:20-cr-113-1

Stephen Smith



TAKE NOTICE that the above-entitled case has been scheduled at 02:30 p.m. on Wednesday,
May 17, 2023 in Rutland, Vermont, before Honorable Geoffrey W. Crawford, District Judge, for
a Sentencing.


Location: Main Courtroom, 2nd Floor                     JEFFREY S. EATON, Clerk
                                                        By: /s/ Emerson Howe
                                                        Deputy Clerk
                                                        4/13/2023

TO:

Joseph R. Perella, AUSA

Mark D. Oettinger, Esq.

Sunnie Donath, Court Reporter
